STATEMENT BY THE COURT.
This suit was brought by Annie B. Teters, widow, Clara B. Teters, the only minor heir, and W. B. Teters, Jr., administrator of the estate of W. B. Teters, Sr., to recover the rents for the lands belonging to the estate for the year 1928, against T. W. Ratcliff, clerk of the chancery court, who had in his hands and possession the sum of $1,268.15, rents collected from the said lands.
The First National Bank of Corning intervened and filed an answer and claim to said rents on the 99th day of June, 1929, and the court held that the rents belonged to plaintiffs and dismissed the bank's complaint for want of equity.
In case No. 1936, consolidated for trial with the other causes, the court held that it embraced in the cross-complaint all the issues in the other suit, this suit being against the defendant, the First National Bank, to collect rents admitted to be in its possession, collected by it of tenants of the lands belonging to the estate of W. B. Teters, for the years 1926 and 1927, all the rents for said years being collected by the bank.
The court found "that the said bank collected all the rents from said estate for the years 1926 and 1927; that all the claims of the defendant First National Bank against the estate of W. B. Teters, deceased, are barred by the statute of nonclaim, except such amounts as it paid out for taxes on the estate lands, interest on the estate's mortgage indebtedness and such amounts as defendant First National Bank advanced the estate's tenants and was not paid by said tenants." It also required an account stated between the parties, charging the defendant with rents collected from the lands of the estate and crediting it with such amounts as defendant paid for taxes, interest on the estate's mortgage indebtedness *Page 601 
supplies furnished the tenants of the estate. It approved the master's report and found therefrom that the bank collected rents from the lands for the years 1926 and 1927 and interest thereon up to November 1, 1929, amounted to $2,062.74, credited the bank with the amount paid for the estate for interest on the estate's indebtedness and taxes on the lands of the estate with interest up to November 1, 1929, amounting to the sum of $907.32, leaving a balance due from defendant to them in the sum of $1,158.42, which amount should be apportioned among the plaintiffs as set out in the master's report. A decree was entered accordingly and also in favor of appellees against; T. W. Ratcliff as clerk of the chancery court for the amount of 1928 rent held by him allocated to the different parties according to their interest therein, and from the decree prosecutes this appeal.
It appears from the testimony that the administrator after procuring an order from the probate court, attempted to carry on the farming of the lands of the estate upon money advanced by the bank for the years 1926 and 1997. The administrator, under the probate court order, executed mortgages to secure the advances. There was no money furnished by the bank for farming operations during the year 1928, the rents for that year being paid to T. W. Ratcliff, clerk of the chancery court, for proper distribution.
The testimony also tended to show that 160 acres of the lands included in all the mortgages by the decedent and the administrator was the homestead of the decedent; that the bank's mortgage with the notes secured by it had been transferred to Jones, who foreclosed it, the bank only claiming to have the right to foreclose under the mortgage for the balance of the money advanced and secured by the terms of the mortgage. There was no contention that its claim had been presented to the administrator otherwise than by the mortgage for securing the indebtedness and the money advanced for the making of the crop, etc. *Page 602 
(after stating the facts). Appellant insists that the chancery court was without jurisdiction and erred in dismissing its claim in the first suit for want of equity and in adjudging it not entitled to recover any more than the money advanced for payment of taxes, the interest on the Federal Land Bank's mortgage, etc. There was no presentation of any claim by the bank to the administrator for allowance within the time fixed by law for presentation of such claims and the court did not err in so holding. Any renewal or attempted renewal by the administrator of the notes of the decedent to the bank secured by the mortgage made by him, or of the mortgage's given by the administrator, under the order of the probate court, to secure advances from the bank for supplies for tenants cultivating the lands of the estate, could not constitute a presentation of the claim of the bank against the estate of the decedent within the meaning of the requirements of the law, and the court did not err in holding the bank's claim barred by the statute of nonclaim. Jordan v. Morrilton, 168 Ark. 117,269 S.W. 53.
The probate court was without jurisdiction to make an order authorizing the mortgaging of the lands of the estate by the administrator for carrying on farming operations for three years. Doke v. Benton County Lumber Co., 114 Ark. 1, 169 S.W. 327; Massey v. Doke, 123 Ark. 211,185 S.W. 271; Lewis v. Rutherford, 71 Ark. 282,72 S.W. 373; Beakley v. Ford, 123 Ark. 383,185 S.W. 796; Hart v. Wimberly, 173 Ark. 1083, 296 S.W. 39.
Appellant insists, however, that Mrs. Annie B. Teters was estopped from denying the validity of the mortgages made by the administrator to secure the advances for farming purposes, having agreed thereto in consideration that the bank would not proceed with the foreclosure of its mortgage against the estate. No estoppel was pleaded, however, and, if the conduct could *Page 603 
amount to an estoppel, which we do not decide, it would in no wise dispense with the necessity for presentation of the bank's claim to the administrator of the decedent's estate, nor prevent the operation of the statute of nonclaim. Gerard B. Lambert Co. v. Rogers, 161 Ark. 307,255 S.W. 1089; Arkansas National Bank v. Boles, 97 Ark. 43,133 S.W. 195; Hasty v. Hampton Stave Co., 80 Ark. 409,97 S.W. 675.
The bank did not advance any money to the administrator to make the crop for the year 1928, and had no right whatever to or claim against the rents of the lands for that year, and the court having correctly held all its claims against the decedent's estate barred by the statute of nonclaim, except as to interest advanced and taxes paid, which had been returned to it, the bank had no interest in or claim to the rents for the year 1928, and no error was committed against the bank in the decree for recovery and distribution of said rent.
The appellant applied for permission to intervene in the equity suit and asked for affirmative relief and the appellees also prayed for equitable relief, cancellation of the mortgage, etc., and no objection was made to the jurisdiction of the court before the appeal was prosecuted. The court therefore had jurisdiction, and it is too late now for the appellant to complain here that the court was without jurisdiction, even if there were grounds for such objection.
We find no error in the record, and the decree must be affirmed. It is so ordered.